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 1 Tamara Zavaliyenko, Esq.
   California State Bar # 229266
 2 Email: info@settlementcovid19.com
 3 4521 Campus Drive, Suite 325
   Irvine, California 92612
 4 Phone: (949) 656-7233
 5 Facsimile: (949) 656-7233
 6
 7 Attorney for Plaintiffs and the Proposed Class
 8
                                 IN THE UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10
11 BOURQUE CPA’S AND ADVISORS, INC.;                    Case No. 8:20-cv-00597
   GD SERVICES LLC;
12 J&M CONSULTING LP;
13 NH APARTMENTS, INC;                                  NOTICE OF ERRATA AND
   RURAL HOUSING PRESERVATION                           CORRECTION TO PLAINTIFF’S
14 FOUNDATION; on behalf of themselves,                 CLASS ACTION COMPLAINT
15 and all those similarly situated
16                                Plaintiffs,
17     v.

18 THE PEOPLE’S REPUBLIC OF CHINA;
   THE PEOPLE’S LIBERATION ARMY;
19 MINISTRY OF EMERGENCY
20 MANAGEMENT OF THE PEOPLE’S
   REPUBLIC OF CHINA;
21 NATIONAL HEALTH COMMISSION OF
22 THE PEOPLE’S REPUBLIC OF CHINA;
   MINISTRY OF CIVIL AFFAIRS OF THE
23 PEOPLE’S REPUBLIC OF CHINA; THE
24 PEOPLE’S GOVERNMENT OF HUBEI
   PROVINCE;
25 THE WUHAN INSTITUTE OF VIROLOGY;
26 THE PEOPLE’S GOVERNMENT OF CITY
   OF WUHAN, CHINA; and JOHN DOES 1-50,
27 inclusive
                      Defendants.
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        Case No. 8:20-cv-00597                      1
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     Case 8:20-cv-00597-RGK-DFM Document 10 Filed 03/27/20 Page 2 of 2 Page ID #:80



 1 TO THE COURT AND ALL PARTIES TO THIS ACTION:
 2           PLEASE TAKE NOTICE that Plaintiffs BOURQUE CPAS + ADVISORS, INC.,
 3 GD SERVICES LLC, J&M CONSULTING LP, NH APARTMENTS, INC., RURAL
 4 HOUSING PRESERVATION FOUNDATION, (collectively, “Named Plaintiffs”), on behalf
 5 of themselves and all those similarly situated, and by and through their undersigned counsel,
 6 hereby provide Notice of Errata and correction as follows: On March 26, 2020, Plaintiffs
 7 filed their “Complaint” at Docket No. 2, and, unbeknownst to Plaintiffs’ counsel, when
 8 the “Complaint” was converted from Microsoft Word to PDF, the “Complaint” was
 9 produced without the required line numbering in the left margin of the document. A
10 corrected version of the “Complaint” with the proper line numbering in the left margin
11 and no other changes is being filed concurrently herewith.
12
13 Respectfully Submitted,
14
15 Dated this 27th day of March, 2020.                By: /s/ Tamara Zavaliyenko
16                                                    TAMARA ZAVALIYENKO
17                                                    Attorney for Plaintiffs
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        Case No. 8:20-cv-00597                    2
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